Case 1: 05- -c\/- -01032- .]DT- STA Document 61 Filed 08/31/05 Page 1 of § Page|D 34
"5£-`@ n

IN THE UNITED STATES DISTRICT COURT OQ
FOR THE WESTERN DISTRICT OF TENNESSEE/,‘ j,

  

EASTERN I)IvIsloN “é¢?§»;/" ,.
Wooi) M. DEMING, M.D., ‘
REGIONAL CARDIOLOGY
CONSULTANTS, P.C.,
Plaintiffs,

v. NO. 1-05-1032-T

JACKSON-MADISON COUNTY
GENERAL HOSPITAL DISTRICT,
et al.,

\\/\_i\-/\_/\_/\-/\-/\_/V`\_/\_/\_d\_/

Defendants.

 

ORDER GRANTING PLAINTIFFS’ MOTION TO POSTPONE RULING ON
DEFENDANTS’ MOTION TO DISMISS AND/OR FOR SUMMARY JUDGMENT
AND TO ALLOW PLAINTIFFS TO CONDUCT DISCOVERY

 

Before the Court is Plaintiffs’ Motion to Postpone Ruling on Defendants’ Motion to
Dismiss and/or for Summary Judgrnent and to Allow Plaintiffs to Conduct Discovery filed on
July 22, 2005. F or the reasons set forth below, the Motion is GRANTED.

BACKGROUND

On February 5, 2005, Plaintiffs filed a sixty-seven (67) page Complaint alleging twelve
(l 2) separate causes of action against Defendants, including claims for violations of 42 U.S.C`
§ 1983, violations of federal and state anti-trust laws, defamation, conspiracy, business
disparagement, interference with contract and breach of contract in violation of Tennessee’S

Consumer Protection Act. ]n response, Defendants filed a Motion to Dismiss and/or for

This document entered on the docket §§eet In compliance
with Hule 58 end.'or_79 (a) FRCP on

Case 1:05-cv-01032-.]DT-STA Document 61 Filed 08/31/05 Page 2 of 5 Page|D 35

Summary ludgment.' Contemporaneously therewith, Defendants filed a Memorandum of Law in
support of their Motion to Dismiss and/or for Sumrnary .ludgment consisting of seventy-five (75)
pages, with several hundreds of pages of exhibits and three (3) affidavits attached thereto.
Additionally, Defendants filed a Statement of Undisputed Material Facts which contains seventy
(70) paragraphs of allegedly undisputed material facts.

At this time, no discovery has been conducted by the parties and Plaintiffs contend that
discovery is needed before they can effectively respond to Defendants’ Motion. Furthermore,
Plaintiffs maintain that “fundamental fairness” dictates that they be allowed to engage in
discovery based upon the Sixth Circuit Court of Appeals’ decision in Whr're Lana'z`ng Fisherr'es,
Inc. v. Buchholzer. White Landing Ffsherz'es, ]nc. v. Buchliolzer, 29 F.3d 229 (6th Cir. 1994).
Specifically, Plaintiffs aver that granting a summary judgment motion when the non-moving
party has not been afforded the opportunity to conduct discovery offends the concept of
fundamental fairness.

Defendants argue that discovery should not be allowed because their l\/Iotion is based
upon purely legal grounds and because this Court granted a dismissal in a previous case that was
almost factually identical to the case at hand.2 Specifically, Defendants state that they rely upon
multiple immunity defenses in their Motion to Dismiss and/or for Sumrnary Judgrnent and that

the Suprerne Court has recognized that discovery should generally be stayed until potentially

 

1This Motion wiil be treated as a Motion for Summary Judgment under Fed. R. Civ. P.
12(c) because Defendants have presented matters outside of the pleadings for consideration by
the Court. See Sutton v. U.S. Small Bus. Admin., 92 Fed. Appx. 112 (6th Cir. 2003) (statin g that
a district court properly treated a dispositive motion as one for summary judgment under Fed. R.
Civ. P. 12(c) because the parties presented matters outside of the pleadings).

2.S`per/tcer v. Jac/cson-Madison County General Hospr`tal Dz'srrict, et al., No 97-1165 (W.D.
Tenn., August 24, 1999)

Case 1:05-cv-01032-.]DT-STA Document 61 Filed 08/31/05 Page 3 of 5 Page|D 36

dispositive issues such as immunity are decided. Harlow v. Fitzgerald, 497 U.S. 800 (1984).
ANALYSIS

ln their Memorandum of Law, Defendants rely upon two cases, Ball v. Um`on Carbz‘de
Corp. and Reyes v. Wilson Memorial Hospz'tal. Ball v. Um'on Carbide Corp., 385 F.3d 713 (6th
Cir. 2004); Reyes v. Wilson Memorz`al Hospz'tal, 102 F. Supp. 2d 798 (S.D. Ohio, 1998). These
two cases, however, are distinguishable from the case at hand. ln Ball, the plaintiffs were
seeking additional discovery, unlike Plaintiffs in this case Who have been unable to conduct any
discovery Bafl, 385 F.3d 713. Likewise, in Reyes, the plaintiffs’ Motion for Additional
Discovery was filed over four (4) years after the complaint had been filed and the court denied
the discovery request, in part, because it was untimely. Reyes, 102 F. Supp. 2d 798.

Courts should apply Rule 56(f) Motions liberally. See id. at 825. It is also well
established that a “plaintiff must receive “a full opportunity to conduct discovery” to be able to
successfully defeat a motion for summary judgment.” Ball, 385 F.3d at 719 (quotz'ng Anderson v.
Li'berty Lobby, ]nc., 477 U.S. 242, 257 (1986)). See also Wz`te Landing Fisherz'es, ]nc., 29 F.3d
229.

Plaintiff has set forth at least some of the specific areas into which it needs to conduct
inquiry, such as whether the action taken by Defendants complied with the requirements of the
Health Care Quality lmprovernent Act. 42 U.S.C. § 11111. (See Pls.’s Counsel’s Aff. il 7)

Based upon the volume of support and documentation attached to Defendants’ Motion to
Dismiss and/or for Sumrnary Judgment, fundamental fairness requires that Plaintiff be allowed to
conduct at least some discovery before it is required to respond to Defendants’ Motion. As such,
Plaintiffs’ Motion is GRANTED.

The Court will schedule a Rule 16(b) Scheduling Conference to discuss and develop a

Case 1:05-cv-01032-.]DT-STA Document 61 Filed 08/31/05 Page 4 of 5 Page|D 37

Schedu]ing Order which will govern the deadlines for completing discovery as well as the
amount and type of discovery that will be permitted before Plaintiff is required to respond to
Defendants’ Motion.

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £;'Mj c?O, 34>£>`.\f
d 1

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 1:05-CV-01032 was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

ESSEE

 

Patrick Wayne Rogers

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

.lackson7 TN 38302--114

.lerry D. Kizer

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

.lackson7 TN 38302--114

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

.lackson7 TN 38302--114

Anthony Charles Pietrangelo
PIETRANGELO COOK

64 1 0 Poplar

Ste. 190

l\/lemphis7 TN 38119

Honorable .l ames Todd
US DISTRICT COURT

